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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5    Attorney for Defendant
     AGUSTIN PENA-CONTRERAS
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                        )
11   UNITED STATES OF AMERICA,          )   No. 2:11 CR 00338-GEB
                                        )
12                  Plaintiff,          )
                                        )   STIPULATION AND [PROPOSED] ORDER
13        v.                            )   TO CONTINUE STATUS CONFERENCE
                                        )
14   AGUSTIN PENA-CONTRERAS,            )
     et al.,                            )   Date: May 18, 2012
15                                      )   Time: 9:00 a.m.
                    Defendants.         )   Judge: Hon. Garland E. Burrell
16                                      )
     _______________________________
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18
          The parties request that the status conference in this case be
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     continued from February 24, 2012, to May 18, 2012 at 9:00 a.m.            They
20
     stipulate that the time between February 24, 2012, to May 18, 2012 should
21
     be excluded from the calculation of time under the Speedy Trial Act.
22
          The parties stipulate that the ends of justice are served by the
23
     Court excluding such time, so that counsel for the defendants may have
24
     reasonable time necessary for effective preparation, taking into account
25
     the exercise of due diligence. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
26
     Specifically, counsel needs additional time to negotiate a resolution to
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     this matter and to investigate the facts of the case, which involves
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1    additional visits to the remote scene of the crime, and interviews of
2    witnesses who are currently out of the country.
3         The parties stipulate and agree that the interests of justice served
4    by granting this continuance outweigh the best interests of the public
5    and the defendant in a speedy trial. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
6    Dated: February 23, 2012         Respectfully submitted,
7                                     DANIEL BRODERICK
                                      Federal Defender
8
                                      /s/ Douglas Beevers
9                                     DOUGLAS BEEVERS,
                                      Assistant Federal Defender
10                                    Attorney for Defendant
                                      AGUSTIN PENA-CONTRERAS
11
12   Dated: February 23, 2012         /s/ Olaf Hedberg
                                      OLAF HEDBERG
13                                    Attorney for Defendant
                                      NEMECIO GARCIA-ALCAZAR
14
15   Dated: February 23, 2012         BENJAMIN B. WAGNER
                                      United States Attorney
16
                                      /s/ Heiko Coppola
17                                    HEIKO COPPOLA
                                      Assistant United States Attorney
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19                                        ORDER
20        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
21   ordered that the status conference presently set for February 24, 2012,
22   be continued to May 18, 2012, at 9:00 a.m. Based on the representation of
23   counsel and good cause appearing therefrom, the Court hereby finds that
24   the ends of justice to be served by granting a continuance outweigh the
25   best interests of the public and the defendant in a speedy trial.     It is
26   ordered that time from the date of this Order, to and including, the May
27   18, 2012, status conference shall be excluded from computation of time
28   within which the trial of this matter must be commenced under the Speedy


     Stip and Order                        -2-
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1    Trial Act pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code
2    T-4.
3    Dated:    February 23, 2012
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5                                        GARLAND E. BURRELL, JR.
6                                        United States District Judge

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     Stip and Order                           -3-
